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                EXHIBIT 1
U.S. Department of Justice
          Case 8:20-cv-02132-WFJ-AAS
Bureau of Alcohol, Tobacco, Firearms and Explosives                           Document Final Notice
                                                                                       1-1 Filed    of Denial
                                                                                                 09/10/20     of Application,
                                                                                                           Page               Revocation
                                                                                                                 2 of 13 PageID 17
                                                                                                   Suspension and/or Fine of Firearms License

In the matter of:

  D     The application for license as a/an                                                                                                                                                      , filed by:
        or
  [{] License Number l-59-103-10-8G-05536                                                                                                                                                            as a/an
       _m_a_n_uf_a_c_tu_r_er_o_f_d_e_s_tr_u_c_ti_v_e_d_ev_1_
                                                          ·c_e_s,_a_m_m_u_n_it_io_n_fi_o_r_d_e_st_ru_c_t_iv_e_d_e_v_ic_e_s_
                                                                                                                         , a_n_d_ar_m_o_r_p_i_er_c_in_g_am_m_u_n_it_i_on_ _ _ _ _ _ _ _ _ _ _ _ _ , issued to:


Name and Address of Applicant or Licensee (Show number, street, city, state and ZIP Code)
Anzio Ironworks Corp
14605 49th Street N, Ste. 8
Clearwater, Florida 33762




Notice is Hereby Given That:

D    A request for hearing pursuant to 18 U.S.C . § 923(f)(2) and/or 922(t)(5) was not timely filed. Based on the findings set forth in the attached document,
     your
     D     license described above is revoked pursuant to 18 U.S.C. 923(e), 922(t)(5) or 924(p), effective :

                     D     15 calendar days after receipt of this notice, or             D
      D    license is suspended for _ _ _ _ calendar days, effective _ _ _ _ _ _ _ _ _ _ _ , pursuant to 18 U.S.C. § 922(t)(5) or 924(p).


      D    licensee is fined$~_ _ _ _ _ _ _ , payment due : _ _ _ _ _ _ _ _ _---.pursuant to 18 U.S.C. § 922(t)(5) or 924(p).


[{] After due consideration following a hearing held pursuant to 18 U.S .C. § 923(f)(2) and/or 922(t)(5), and on the basis of findings set out in the
    attached copy of the findings and conclusions, the Director or his/her designee concludes that your
      D    application for license described above is denied, pursuant to 18 U.S .C. 923(d).


      D    application for renewal of license described above is denied pursuant to 18 U.S.C. 923(d), effective:
                       D      15 calendar days after receipt of this notice, or             D
      [{] license described above is revoked pursuant to 18 U.S.C. 923(e), 922(t)(5) or 924(p), effective:

                       0      15 calendar days after receipt of this notice, or              o·-------------
      D    license is suspended for _ _ _ _ _ _ _ _ calendar days, effective                             --------
                                                                                                                                       , pursuant to 18 U.S.C. § 922(t)(5) or 924(p).


      D    licensee is fined ,,,__ _ _ _ _ _ _ , payment due:                        _ _ _ _ _ _ _ _ _---.pursuant to 18 U.S.C. § 922(t)(5) or 924(p) .

If, after the hearing and receipt of these findings , you are dissatisfied with this action you may, within 60 days after receipt of this notice, file a petition
pursuant 18 U.S.C. § 923(f)(3) , for judicial review with the U.S. District Court for the district in which you reside or have your principal place of business. If
you intend to continue operations after the effective date of this action while you pursue filing for judicial review or otherwise , you must request a stay of the
action from the Director oflndustry Operations (DIO), Bureau of Alcohol, Tobacco, Firearms and Explosives, at 40 N . Tampa St, Suite 2100, Tampa FL 33602
, prior to the effective date of the action set forth above . You may not continue licensed operations unless and until a stay is granted by the DIO.


Records prescribed under 27 CFR Part 478 for the license described above shall either be delivered to ATF within 30 days of the date the business is required
to be discontinued or shall be documented to reflect delivery to a successor. See 18 U.S.C. 923(g)(4) and 27 CFR § 478.127.

After the effective date of a license denial of renewal, revocation, or suspension, you may not lawfully engage in the business of dealing in firearms. Any
disposition of your firearms business inventory must comply with all applicable laws and regulations. Your local ATF office is able to assist you in
understanding and implementing the options available to lawfully dispose of.your firearms business inventory.

                                                                                                                                       EXHIBIT
                                                                                                                                          1                                      ATF E-Fonn 5300 . 13
                                                                                                                                                                                 Revised September 20 l 4
Date             Name and Title of Bureau of Alcohol, Tobacco, Firearms and Explosives Official                 Signature
          Case 8:20-cv-02132-WFJ-AAS Document 1-1 Filed 09/10/20 Page 3 of 13 PageID          18
                                                                                Digitally signed by AARON                                                                    GERB~R
07/10/2020        Aaron R. Gerber, Director, Industry Operations, Tampa Field Division                                                       Date: 2020.07.09 13:59 :47 -04'00'


I certify that, on the date below, I served the above notice on the person identified below by:


          [{] Certified mail to the address shown below.                                              Delivering a copy of the notice to
                                                                               Or                 D   the address shown below.
              Tracking Number: FedEx 770926457526

Date Notice Served       Title of Person Serving Notice                                                         Signature of Person Serving Notice
                                                                                                                                             Digitally signed by AMY
07/10/2020                Division Counsel, Tampa Field Division                                                 AMY FREYERMUTH              FREYERMUTH
                                                                                                                                             Date: 2020 .07 .10 14:40:4-' -0-1-'00'


Print Name and Title of Person Served                                                                           Signature of Person Served



Address Where Notice Served



Note: Previous Edition is Obsolete




                                                                                                                                                 ATF E-Form 5300.13
                                                                                                                                                 Revised September 2014
                                   DEPARTMENT OF JUSTICE
ase 8:20-cv-02132-WFJ-AAS
        BUREAU OF ALCOHOL,Document 1-1 FIREARMS
                            TOBACCO,    Filed 09/10/20
                                                   AND Page 4 of 13 PageID 1
                                                       EXPLOSIVES



In the Matter of Revocation of Federal        )
 Firearms License Under Chapter               )              TAMPA FIELD DIVISION
44, Title 18, United States Code, as a        )
Manufacturer of Firearms                      )
                                              )
Licensee:                                     )              FINDINGS AND CONCLUSIONS
                                              )
Anzio Ironworks Corp                          )
14605 49th Street North, Suite 8              )
Clearwater, Florida 33762                     )


Under the provisions of section 923(e), Title 18, United States Code, the Attorney General may,
after notice and opportunity for hearing, revoke any license issued under this section if the holder
of such license has willfully violated any provision of this chapter or any rule or regulation
prescribed by the Attorney General under this chapter. Anzio Ironworks Corp, Federal firearms
license 1-59-103-10-8G-05536, is a manufacturer of Destructive Devices, Ammunition for
Destructive Devices, or Armor Piercing Ammunition located at 14605 49th Street N , Ste 8,
Clearwater, Florida 33762. (" Licensee") The Licensee has held this Federal firearms license
since June 19, 2006.

                                         BACKGROUND

On September 26, 2018, ATF initiated a firearms compliance inspection at the Licensee ' s
business premise. A closing conference was conducted and a Report of Violations was issued to
the Licensee on December 21 , 2018. On April 25 , 2019, Anzio Ironworks Corp filed an
application for a Type 07 Federal firearms Licensee to manufacture firearms other than
destructive devices at the business premise located at 12820 Daniel Road, Unit 12, Clearwater,
Florida 33762 .

On December 26, 2019 a Notice of Revocation was sent certified mail to the Licensee at 14605
49th Street N , Ste. 8, Clearwater, Florida 33762 and a Notice to Deny Application for License,
A TF Form 4498 (5300.43), was issued to the Applicant. The Notice informed Anzio Ironworks
Corp (" Applicant") that ATF was denying its application for a Federal firearms license due to the
actions of the Licensee.

 The Notice of Revocation was issued to the Licensee for conducting business activities at a
 location other than their business premise in violation of 18 U.S.C. § 923(a) and 27 C.F.R. §
 478.50 ; failing to complete and record a firearms transactions on an ATF Form 4473s prior to
 transferring a firearm to non-licensees in vioiation 18 U.S.C. § 922(b)(5) and 27 C.F.R. §
 478 .124(a); transferring firearms to non-licensees without receiving a unique identification
 number in violation of 18 U.S.C. § 922(t) and 27 C.F.R. § 478.102; failing to properly maintain
          Final Notice of Revocation of Federal Firearms License for Shadow Solutions, LLC
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the acquisition and dispositions of firearms in the Licensee's Acquisition and Disposition
Records required of a manufacturer in violation 18 U.S.C. § 923(g)(l)(A) and 27 C.F.R. §§§
478. l 23(a), 478.123(b), and 478.123(d); aiding and abetting violations of 18 U.S.C. §
923(g)(l)(A) and 27 C.F.R. §§§ 478.123(a), 478.123(b) and 478.l23(d) by Ligamec Corp, a
manufacturer in firearms and ammunition other than destructive devices; transferring
unregistered destructive devices to non-licensees in violation of 18 U.S.C. § 922(b)(4); and
transferring two (2) machineguns to non-licensees in violation of 18 U.S.C. § 922(0).

The Notice of Revocation to the Licensee and Notice of Denial of Application to the Applicant
advised Anzio Ironworks Corp that they could file a request for a hearing for both actions. This
Notice was served by certified mail in accordance with 27 C.F.R. § 478.75 at the busine5s
address of the Applicant and the Licensee.

On January 3, 2020, ATF timely received a formal written request for a hearing on the Notice to
Revoke or Suspend License and/or Impose a Civil Fine from Mr. Michael Remo, President of
Anzio Ironworks Corp. On January 15, 2020, ATF timely received a formal written request for a
hearing on the Notice to Deny Application for License from Mr. Remo.

On February 7, 2020, Mr. Remo received a Notice of Hearing for the Licensee. However, the
Notice of Hearing for Denial of the Application for Anzio Ironworks Corp was undeliverable by
the United States Post Office due to no authorized recipient available at 12820 Daniel Road, Unit
12, Clearwater, Florida 33762 after two delivery attempts were made on February 7 and 8, 2020.

On February 24, 2020, reissued a Notices of Hearing for both the Licensee and the Applicant.
These Notices of Hearing were hand delivered to Mr. Remo on February 28 1h, 2020 advising him
that a hearing would be conducted at Tampa Field Division 20th Floor Conference Room located
at 400 North Tampa Street, Tampa Florida 33602 on March 11 , 2020 at 1000 a.m .

 A hearing occurred on March 11 , 2020 for both the Notice of Revocation issued to the Licensee
 and the Notice to Deny Application issued to the Applicant. Present during the hearing was,
 DIO Aaron Gerber as hearing officer; Mr. Michael Remo as President of Anzio Ironworks Corp
 for both the Licensee and the Applicant; and ATF Industry Operations Investigator (IOI) Salina
 Lapella; and the Government was represented by Amy Freyermuth, Tampa Division Counsel.
 Both parties had the opportunity to present oral and documentary evidence and examine and
 cross examine witnesses. The Government presented evidence based on willful violations of the
 GCA and its implementing regulations found during a compliance inspection of the Licensee as
 basis for both the Revocation of Anzio Ironworks Corp's Type LO Federal firearms license and
 the basis for denial of the Application for a Type 07 Federal firearms license by the same
 company.

                          FINDINGS OF FACT and CONCLUSIONS

                                     FINDINGS OF FACT
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Having reviewed the record in this matter, [ make the following findings and conclusions:

I. The Licensee, Anzio Ironworks Corp, Federal firearms license number l-59-l 03-10-1 G-
05536, holds a Type 10 Federal firearms license which allows the Licensee to manufacture
destructive devices, ammunition for destructive devices, or armor piercing ammunition at the
business premises located at 14605 49th Street N, Ste. 8, Clearwater, Florida 33762.

3. The Licensee is a Special Occupational Tax Payer (" SOT Payer") which allows the Licensee
to manufacture and/or deal in National Firearms Act Firearms ("NF A Firearms"). NF A Firearms
are firearms that are regulated under the National Firearms Act and have to be registered with
ATF prior to transfer. The manufacture and/or transfer of Destructive Devices, Silencers, and
Machineguns are regulated under the NF A.

4. The transfer of NF A firearms such as Destructive Devices, Silencers, and Machineguns
require submission and approval of an A TF Application for Tax-Exempt Transfer of Firearms
and Registration to Special Occupational Taxpayer (National Firearms Act) ("ATF Form 3")
prior to transfer to another licensee. After receipt of an approved ATF Form 3 from ATF , a
licensee can physically transfer the firearm to the approved licensee and must record the
disposition of the firearm to that licensee in their Acquisition and Disposition Record ("A&D
Record").

5. The transfer of an NF A firearm to a non-licensee requires the submission and approval of an
ATF Application for Tax Paid Transfer and Registration of Firearm ("A TF Form 4"). After
receipt of an approved ATF Form 4, a licensee can physically transfer the firearm to the non-
licensee after an ATF Firearms Transaction Record ("ATF Form 4473") is completed by the
non-licensee. The licensee must also record the disposition of the firearm to that non-licensee in
their A&D Record .

 6. ATF Industry Operations Investigators (IOI) Salina Lapella and Jon-Wayne Griffin initiated a
 firearms compliance inspection. The period of inspection was September 26, 2017 through
 September 25 , 2018. During the inspection, violations of the Gun Control Act were discovered
 for the inspection period.

 7. At the time of inspection, Mr. Michael Remo was listed as a Responsible Person and
 President for Anzio Ironworks Corp along with additional Responsible Persons Mr. James Mayo,
 Mr. Marcos Ruiz, and Mr. John Niediewski. A Responsible Person is defined in the case of a
 corporation, any individual possessing, directly or indirectly, the power to direct or cause the
 direction of the management, policies, and practices of the corporation, in so far as they pertain
 to firearms .
                                                 4
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8. Mr. Marcos Ruiz was also a Responsible Person for Ligamec Corp, Federal firearms license
number 1-59-23279, a manufacturer in firearms and ammunition other than destructive devices
with a business premise located at 11419 Challenger Ave, Odessa, Florida, 33556.

9. During the inspection, a physical inventory was done by comparing the firearms present at the
Licensee's business location to the A&D Record, approved ATF Form 3s and ATF Form 4s,
ATF Form 4473s, and a copy of the National Firearms Registration and Transfer Record
("NFRTR") for the Licensee. I find the following violations and supporting facts to be true
based on the evidence presented by both parties:

           a. On sixty-nine (69) occasions, the Licensee transferred firearm to unlicensed
              individuals without receiving a unique identification number in violation of 18
              U.S.C. § 922(t) and 27 C.F.R. § 478.102. Since all sixty-nine (69) firearms are
              regulated under the NF A, a background check would have been done by A TF not
              by the Licensee. Receipt of an approved ATF Form 4 indicates that a unique
              identification number was received in compliance with 18 U.S.C. § 922(t) and 27
              C.F .R. § 4 78. l 02 and that the Licensee can transfer said firearm to an unlicensed
              individual. There were no ATF Form 4' s found during the inspection for these
              firearms.

           b. In addition to transferring the sixty-nine (69) firearms to unlicensed individuals
              without receiving a unique identification number, the Licensee failed to complete
              and record the firearm transaction on an A TF Form 44 73 prior to transfer in
              violation of 18 U.S.C. § 922(b)(5) and 27 C.F.R. § 478.124(a). The transfer of
              these firearms requires not only an approved ATF Form 4 but also the completion
              of an ATF Form 4473, minus the background check, prior to physical transfer of
              the firearm to an unlicensed individual. There were no A TF Form 44 73s found
              during the inspection for these firearms.

           c. Of the sixty-nine (69) firearms transferred to unlicensed individuals,
              approximately fifty-seven (57) of those firearms were Destructive Devices
              regulated under the NF A. There was no approved ATF Form 4s or completed
              ATF Form 4473s for the fifty-seven (57) Destructive Devices in violation of 18
              U .S.C. § 922(b)(4) which is required prior to physical transfer of a Destructive
              Device to an unlicensed individual under the GCA.

           d. Of the sixty-nine (69) firearms transferred to unlicensed individuals, two (2)
              machineguns were transferred to Mr. Remo without the receipt of an Approved
              A TF Form 4 by the Licensee or the completion of an ATF 44 73 for those two
              transactions in violation of 18 U .S.C. § 922( o) which is required prior to physical
              transfer of a Machinegun to an unlicensed individual under the GCA.
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           e. Upon inspection of the A&D Record, approximately seventy-four (74)
              occasions t, the Licensee failed to properly maintain the acquisition and
              dispositions of firearms in its A&D Records required of a manufacturer in
              violation of 18 U.S.C. § 923(g)(l)(A) and 27 C.F.R. §§§ 478. l23(a), 478 .123(b),
              and 478J23(d):

                    1.   Three (3) firearms were not recorded as acquisition but found in the
                         Licensee 's inventory;

                   11.   Sixty-nine (69) firearms were recorded in the disposition record as logged
                         out to non-licensees when they were actually in inventory;

                  111.   Two (2) firear(l1s were recorded in the disposition record as logged out to
                         a licensee when they were actually in inventory.

           f.   During the inspection, Mr. Remo informed IO Is Lapella and Griffin that there was
                some assembly of firearms going on at a different location other than the listed
                business premise, specifically that manufacturing was being done for the Licensee
                at the business premises for Ligamec Corp in violation of violates 18 U.S.C. §
                923(a) and§ 27 C.F.R. §478.50.

                    1.   Ligamec Corp is located at 11419 Challenger Avenue, Odessa, Florida
                         33556. Mr. Ruiz, a Responsible Person for both the Licensee and
                         Ligamec Corp, was conducting manufacturing functions on Destructive
                         Devices and Suppressors for the Licensee.




1
  In the Notice of Revocation and the Notice of Denial of Application to both the Licensee and
the Applicant, ATF alleged that on approximately eighty-eight (88) occasions, the Licensee
failed to properly maintain the acquisition and dispositions of firearms in its A&D Records
required of a manufacturer in violation of 18 U.S.C. § 923(g)(l)(A) and 27 C.F.R. §§§
478.123(a), 478 .123(b), and 478.123(d). After the hearing and evidence presented by the
Licensee, ATF has amended its finding that only on seventy-four occasions did such violations
occur. Specifically, ATF finds that the firearm listed as number l (an AIW MF20 Destructive
Device, Serial Number 0001) on Appendix B of the Notice of Revocation ("NOR") and Notice
of Denial ("NOD") of Application both dated December 26, 2019 was recorded in the A&D
Record and thus removing that as a violation. Further, the Licensee provided a letter dated
September 24, 2013 information ATF that the thirteen (13) firearms listed' as dispositions via
Theft/Loss #F20120000226 dated January 27, 2012 in Appendix D of the NOR and NOD were
found. The Licensee testified that he faxed the letter to ATF . Therefore, ATF is removing those
firearms from the eighty-eight (88) firearms the Licensee was cited for violations of 18 U.S.C. §
923(g)(l)(A) and 27 C.F.R. §§§ 478.123(a), 478.123(b), and 478.123(d).
                                                 6
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                  11.   The Licensee knew that he could only can only conduct business activities
                        under the license at its listed business premise due to a Warning
                        Conference conducted based, in part, on the same violation in 2012. On
                        May 30, 2012, the Licensee attended a warning conference during which
                        he was advised that he could only operate from the licensed premises in
                        compliance with 27 C.F.R. § 478.50. The other violations addressed with
                        the Licensee at the Warning Conference was violations of 27 C.F.R. §§§§
                        478.91, 478.12l(a), 124(a) 479.48, and 479.102. Ofthose, the Warning
                        Letter summarized that a review of the regulatory requirements regarding
                        licensing, recordkeeping, when an A TF Form 44 73 is required for NF A
                        transfers, SOT payment, and marking requirements.

                 111.   On June 5, 2012, ATF issued a letter summarizing the Warning
                        Conference that was held on May 30, 2012. The letter stated, in part, the
                        that the Licensee:

                                Specifically, you stated that you would only operate from
                                licensed premises, post your license and maintain your
                                records at the licensed premises, complete an ATF F 4473
                                for all tax-exempt NFA transfers, and pay your SOT and
                                 mark your firearms in a timely manner. You commented
                                 that you now understand these requirements fully and will
                                remain in compliance with them. You also stated that
                                review strategies have ·been implemented to catch any
                                future discrepancies with regard to these areas. 2

                  1v. In addition, the Licensee was advised in the Follow-up Letter to Warning
                      Conference Held dated June 5, 2012 that:

                                The violations for which you were cited could adversely
                                impact law enforcement's ability to reduce violent crime
                                and protect the public. You are reminded that future
                                violations, repeat or otherwise, could be viewed as willfitl
                                and may result in the revocation of your license. You may
                                anticipate further inspections to ensure your compliance.

                                Please contact us if you have any questions concerning
                                your responsibilities as a licensee or if you require further




 2
  See Government Exhibit 18, Follow-up Letter to Warning Conference Held dated June 5, 2012,
 para. 2.
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                                 clarification regarding particular requirements of Federal
                                firearms laws. 3

                  v. During the hearing, the Licensee testified that he thought that he could
                     conduct business activities outside of his business premise if the person
                     conducting those activities had a licensed business premises with A TF and
                     was a Responsible Person.

                  v1. IOI Lapella testified that to her knowledge no one from ATF had told the
                      Licensee that this course of action was allowed.

           g. From on or about January 18, 2014 to on or about December 6, 2016, the Anzio
              Ironworks Corp. willfully aided and abetted violations of 18 U.S.C. §
              923(g)(l)(A) and 27 C.F.R. §§§ 478.123(a), 478.123(b), and 478.123(d) by
              Ligamec Corp by instructing Marcos Ruiz, the Responsible Person of Ligamec
              Corp, to not record the acquisition and disposition of approximately forty-five
              (45) firearms consisting of forty-three (43) destructive devices and two (2)
              silencers. These firearms are regulated under the NF A and require approval by
              A TF prior to physical transfer from the Licensee to an unlicensed individual or a
              licensed entity.

                   i.   The Licensee confirmed to IOI Lapella that he had transferred the forty-
                        five (45) firearms to Ligamec Corp. to be manufactured at their business
                        premises. After Ligamec Corp had completed the work on the firearms,
                        they transferred them back at an unknown date. The firearms were found
                        in the Licensee's physical inventory but were still logged out to Mr. Remo
                        and/or Mr. Ruiz in the Licensee's A&D Records. The Licensee confirmed
                        that he told Mr. Ruiz not to log the acquisition and subsequent disposition
                        of these firearms into Ligamec Carp's A&D Records as Mr. Ruiz was a
                        Responsible Person of the Licensee and believed that was not required.

                  11. During an inspection at Ligamec Corp in January of 2019, IOI Lape Ila
                      confirmed with Responsible Person, Mr. Marcos Ruiz, that he did in fact
                      receive the forty-five (45) firearms from the Licensee, conducted
                      manufacturing functions on said firearms at Ligamec Carp ' s business
                      premise, and transferred them back to the Licensee at a later date. Mr.
                      Ruiz stated that Mr. Remo told him not to enter in the firearms as either
                      acquisitions or dispositions as Mr. Ruiz was a Responsible Person for the
                      Licensee and thus did not have to. Further, Mr. Ruiz told IOI Lapella that
                      he knew that as a Type 07 manufacturer he was not supposed to have these


 3See Government Exhibit 18, Follow-up Letter to Warning Conference Held dated June 5, 2012,
 para. 3-4.
                                                     8
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                         types of NF A firearms. At the conclusion of the inspection, Ligamec Corp
                         surrendered their Type 07 License and Mr. Ruiz requested to be removed
                         as a Responsible Person for the Licensee.

 10. During the hearing the Licensee testified that he thought Responsible Persons on his license
 could manufacturer outside of the listed business premises if that Responsible Person had a
 separate federal firearms license with an approved business premises. The Licensee also
 confirmed that he attended the Warning Conference in which he was told he could only conduct
 business activities at his licensed business premise. The Licensee testimony indicated that he
 was well aware that he could call ATF regarding any confusion he had on this or any other
 matter by stating, "That' s how I - - l should have contacted the ATF and asked what' s the proper
 way to do this ." 4 The Licensee did not contact ATF regarding what Responsible Persons could
 or could not do under the license and instead did what he wanted to do despite it being contrary
 to the GCA and its implementing regulations having been previously warned of such conduct.

 11 . The Licensee testified that he used his A&D Record as more of a tracker for his firearms
 instead of its intended purpose under the GCA which is to record transfers in and out of the
 Licensee ' s inventory to licensed and unlicensed individuals for tracing purposes. The Licensee
 put forth no evidence as to why he did not then log back into his A&D Records the seventy-four
 (74) firearms he was in physical possession of yet they remained logged out to either licensed or
 unlicensed individuals in his A&D Records in violation of 18 U.S.C. § 923(g)(l)(A) and 27
 C.F .R. §§§ 478.123(a) , 478 .123(b), and 478.123(d).

 12. In addressing the record keeping violations, the Licensee admitted that his logbook was
 messy .5 Further, the Licensee testified that he had numerous inspections in the past and that
 " [s]o just because I put it to a person doesn ' t mean I transfer it to them ." 6 Putting aside the other
 inspections, and focusing solely on the 2012 inspection that resulted in a Warning Conference
 the Licensee was apprised of the importance of recordkeeping and the regulatory requirements
 regarding having a federal firearms license. Further, the Licensee was advised of the importance
 of following those regulations in that violating the provisions of the GCA and its implementing
 regulations could adversely impact law enforcement' s ability to reduce violent crime and protect
 the public.7 The Licensee stated that he understood the requirements of those holding a federal
 firearms license in 2012 however during the inspection period of September 26, 2017 through
 September 25 , 2018 made a decision not to follow those statutory and regulatory requirements.

                                      CONCLUSIONS OF LAW



 4
   Transcript page 68, line 25 thorough page 69 lines 1-2.
 5
   Transcript page 76, lines 1-2.
 6
   Transcript page 65 , lines 15-16.
 7
   See Government Exhibit 18, Follow-up Letter to Warning Conference Held dated June 5, 2012 ,
 para. 2.
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 I find that the violations were willful in that the record demonstrates that the Licensee knew and
 understood his obligations under the Gun Control Act but purposefully disregarded or was
 plainly indifferent to these known legal obligations. As such these violations were performed
 willfully under the administrative provisions of the Gun Control Act and the licensee is subject
 to revocation. Willingham Sports, Inc. v. BATF, 415 F. 3d 1274, 1277 (11th Cir. 2005); RSM v.
 Herbert, 466 F. 3d 316, 321 (4 1h Cir. 2006); Simpson v. United States, 913 F. 3d 110, 114 (2019).

 THEREFORE, the License held by Anzio Ironworks Corp is revoked as provided by 18 U.S.C.
 § 923(e) and 27 C.F.R. § 478.73 for the reasons outlined above and set forth in the Notice to
 Revoke or Sus pend License issued on December 26, 2019.

 Dated: July 10, 2020

                                                       Digitally signed by
                                    11 I I             AARON GERBER
                                    v \LV'""- 4;{.._   Date: 2020.07.1 O
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                                         Aaron R. Gerber
                                  Director of Industry Operations
                                      Tampa Field Division
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                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives



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                                         IMPORTANT NOTICE

               Selling Firearms AFfER Revocation, Expiration, or Surrender of an FFL

Former Federal Firearms licensees (FFL's) who continue to sell firearms after the revocation, expiration,
or surrender of their license are subject to the same rules as persons who have never been licensed in
determining whether they are "engaged in the business" of selling firearms without a license in violation
of 18 U.S.C. § 922(a)(l)(A). Accordingly, former licensees who wish to dispose of any remaining
business inventory must adhere to the following guidance:

Business inventory must be disposed of by the former FFL in a manner that, objectively, does not
constitute being engaged in the business of dealing in firearms using the same facts and circumstances
test that would apply to persons who have never been licensed.                                 .

The preferred manner of disposition is for the former licensee to:

           •    Arrange for another FFL to purchase the business inventory (and other assets) of the
                business; or
           •    Consign the inventory to another FFL to sell on consignment, or at auction.

Should a fonner FFL decide against those options, he/she should be aware that future sales - whether
from his/her personal fireanns collection or otherwise - will be evaluated for a potential violation of 18
U.S.C. § 922(a)(l)(A), just as would occur with a person who had never been licensed.

If a former FFL is disposing of business inventory, the fact that no purchases are made after the date of
license revocation, expiration, or surrender does not immunize him/her from potential violations of 18
U.S.C. § 922(aXl)(A). Instead, business inventory acquired through repetitive purchases while licensed
are attributed to the former FFL when evaluating whether subsequent sales constitute engaging in the
business of dealing in fireanns without a license.

ATF re.mains committed to assisting former licensees in complying with Federal fireanns laws. If you
have questions, please contact your local ATF office.




                                           Andy R. ahatn
                             Deputy Assistant Director (Industry Operations)
                                            Field Operations
